                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


                                                *
THE UNITED STATES OF AMERICA                                Crim. No. DKC-10-0051
                                                 *
       v.                                                   Civil No.   DKC-16-1872
                                                 *
TOUMANI THOMAS
                                                 *

                                  * * * * *
                     EMERGENCY SUPPLEMENTAL AUTHORITY

       Petitioner, Toumani Thomas, through undersigned counsel, James Wyda, Federal Public

Defender, and Paresh S. Patel, Assistant Federal Public Defender, hereby files supplemental

authority in support of his pending motion to set aside the judgment in this case on Count Two

pursuant to 28 U.S.C. § 2255. See ECF Nos. 30, 32, 33-1.

       In United States v. Taylor, __ F.3d__, 2020 WL 6053317 (4th Cir. 2020), the Fourth Circuit

recently held that attempted Hobbs Act robbery is no longer a “crime of violence” under 18 U.S.C.

§ 924(c). Therefore, Mr. Thomas’s § 924(c) conviction (Count Two), which was predicated on

attempted Hobbs Act robbery, is now void and must be vacated.

       In light of Taylor, Mr. Thomas respectfully requests that this Court grant his § 2255 motion

immediately and either impose the same sentence of 63 months imprisonment on his remaining

count of conviction (Count One— attempted Hobbs Act robbery) or if the government requests it,

conduct an immediate resentencing under the sentencing package doctrine. See Dean v. United

States, 137 S. Ct. 1170, 1176 (2017); United States v. Smith, 115 F.3d 241, 244 (4th Cir. 1997).

       But either way, Mr. Thomas strongly urges this Court to expedite the resolution of his case

because he has now been imprisoned for eleven years—almost six years beyond the top of his new

sentencing guidelines range of 51 to 63 months imprisonment.

                                                1
Respectfully submitted,

JAMES WYDA
Federal Public Defender

_____________/s/______________________
PARESH S. PATEL
Assistant Federal Public Defender
6411 Ivy Lane, Ste. 710
Greenbelt, Maryland
(301) 344-0600




          2
                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 16th day of October 2020, a copy of the foregoing

pleading was delivered via electronic filing to David I. Salem, Assistant United States Attorney,

Office of the United States Attorney, 6406 Ivy Lane, Ste. 800, Greenbelt, Maryland 20770.


                                             _____________/s/_______________________
                                             PARESH S. PATEL




                                                3
